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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

EASTERN DIVISION
DAVID BOLING, )
Plaiotil`f, §
v. § NO. 05-1129 T/An
GIBSON COUNTY, et al., §
Defendants. §

 

ORDER DENYING MOTION TO FILE AMENDED COMPLAINT

 

Before the Court is Plaintiff"s Motion for Leave to File Amended Complaint filed on July
6, 2005. For the reasons set forth below, the Motion is DENIED Without prejudice

Although Plaintiff attached a Certiiicate of Consultation to its Motion to Amend, Plaintit`f
does not state Whether the counsel for Madison County oppose the instant Motion. Theret`ore,
for not fully complying with Local Rule 7.2, the Motion should be denied. Additionally, United
States District Judge J ames D. Todd entered an Order Granting in Part and Denying in Part
Defendant’s Motion to Disrniss on August l, 2005. Plaintiff is Welcome to re-file the instant

Motion consistent With the Order entered by Judge Todd after complying With all Local Rules.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

IT IS SO ORDERED.

Date: /MDM /G,. 200{

Thls document entered on the docket sheet in compliance
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Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 1:05-CV-01129 Was distributed by faX, mail, or direct printing on
August 17, 2005 to the parties listed.

ESSEE

 

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Honorable .l ames Todd
US DISTRICT COURT

